Case 7:17-cv-OOO78

Document 1-2 Filed in TXSD on 03/14/17 Page 1 of 22

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Hidalgo Gounty Distn‘ct Clerks
Reviewed By: Pa!ricia Molina

CAUSE NO. C-3900-16-D

OSCAR RODRIGUF.Z
VS.
WELLING'[`ON INSURANCE

COMPANY, AND PALOMAR
SPF.("IAT.TY INSURANCE COM PANY

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IN 'l"l'IE DISTRICT COURT

206-m .IUDICIAL DISTRICT

}IIDAI.GO ('.`O{]NTY, TEXAS

I)EFENDANT‘S DEMAND FOR JURY

COMES NOW._ PALOMAR SPL`~`CIALTY INSURANCE COMPANY, Dc{`c.ndant in thc

above-referenced cause, and demands a trial byjury. 'I`hc jury fee has previously been paid by the

Plaintif`f`.

 

EXH|B|T

5_%_

Rcspeclf`ul|y submittcd,

Gau{t, Nyc & Quintana. L.L.P.
P.O. Box 6666

Corpus Christi, Tcxas 78466
(361) 654-?008

(361) 654-?001 'I`elecopicr

tnye’EF-‘ungluw\'c:s.com

B)¥: ){'F?L`L_,__" ::_ '_{ l's _.._,
T!lomas F. Nye
Stalc Bar No. 15154025

William Gault

Staic Bar No. 07?65050
Gau]t, Nyc & Quintan:Ll L.L.P.
P.O. Box 5959

Browlmvi|le, Tcxas 785?.3
{956) 544-71 10

(956) 544-060? Telecopicr

ATTC)RNEYS FoR DEFE.\;D.»\NT
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Rev§ewed By: Palricia Molina

CER'[`IFICATE OF SERVICE

I. T`homas F. N},'e_. hereby certify that on the :' '.~$"";`day of Fcbruary, 2017. a true and correct
copy of the above and foregoing documcnl was served upon thc following counsel as indicated:

.1'1!!0!'):€\’ for )"!m°m['fz`

Christopher M. Ferra:'o

Chrislophcr M. Ferraro. P_C-

Sur'ya Man_u_i

V. Gonzalcz & Associates. P.C.

F.nmil: chris&'z"_l`crr:u'o-Iaw.com
Sur\'af&":\'uonzaluz}:m~.com

VIA E-FILING

l.__,,._.-.,,,- l¢._ , .._ .

Thomas F. N§fe

 

R{JIJRIGH|§H. O$C':‘\Rf\\.'i£' & P$lC` - Jl")- I'Si{.` - l’.\{il‘; 1 0|-' 2

 

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Reviewed By: Nidia Fena

CAUSE NO. C-39UU-16-D

OSCAR RODRIGUEZ § IN TI-IE DISTR.ICT COURT
§
§
§
VS. § 206TH IUDICIAL DISTRICT
§
WELLING'I`ON INSURANCE COMPANY, §
PALOMAR SPECIALTY ]NSURANCE § Hl`DALGO COUNTY 'I`EXAS

COMPANY §

ORDE.R SETTING TELEPHONIC
DQCKET CONTROL §:Ql'_`]§EBENCE

The Court has scheduled the above referenced matter for a Telephonjc Docl<et Control
Conference on March 9l 2017 at 3:30 p.m. at the 206"‘ District Court.
P|aintiff shall initiate said con ference. If no one calls in for Doel<et Cor\trol Conference,

the court will schedule the case for trial as per the court's a\rail.'=\l:)ilityl

211 4!2017
SIGNED on

IU'DGE ROSE G. REYNA
RGbegl
Cc: Hon- Thomas F. Nye: tnye@qnq|awyers.com
Hon. Wi|liam Gau|t: bgault@gnqlawyers.com
Hon. Christopher |V|. Ferraro: chris@Ferraro-|aw.com
Hon. Surya Mangi: surya@gonzalez|aw.com

 

 

Case 7:17-cv-OOO78 Document1-2 Filed in TXSD on 03/14/17 Page 4 of 22

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C`AUSE NO. C-3900-16-D

OSCAR RODRIGUEZ IN rl`HE DISTRlCT COURT
VS.

WELLINGTON INSURANCl-E

COMPANY. AND PALOMAR

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§
§ 206“‘ JUD:CIAL DISTRICT
§
§
SPECIALTY INSURANCF. t'.`()M PANY §

l--IIDAI..GO COUNTY, 'l`EXAS

DEFENDANT PALOMAR SPECIAL.'I`Y INSURANCE COMPANY’S ORI'GINAL
ANSWER

l`O 'l'I-IE I'IONORABLI.`; JUDGE OF SAlD COURT:

COMES NOW. PALOMA|{ SI’F.CIALTY lNSURANCE COMPANY. Def`cndant in the
above-styled and numbered eause. and makes and files this, its answer in reply to Plainli{`f’s
l’etition, and for such answer would respectfully show unto the Court the following

l.

Pursuant to R_ule 92 of the 'I`exas Rules 01` Ci\»'il Procedure, Delendant generally denies the

allegations contained within Plainlil`l`s Original Petition and demands strict proof lbereon by a

preponderance ol`the credible evidence in accordance with the laws of the Statc oi`Texas.

2.
l’leading further and without \\.-'aivez' of the above, Del`endant denies the occurrence of all
conditions precedent to Plaintiff`s claim. Without limiting the foregoing Det`endant denies that
there has been full compliance with all terms and conditions of` the insurance policy at issue as
required prior to Plaintil`l`bringing suil, including but not limited to. the requirement that payment

is only due al`ter agreement is reached on the amount of` loss or an appraisal award has been made

 

 

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Revlewed By: F'atricia Mo|ina

3.
Additionally. the insurance policy pertaining to the claims asserted by the Plaintiii` includes
a specific “Appraisal" clause which sets i"orth the procedure in the event ol` a disagreement of the
amount of the loss. Specilically. the policy requires that._ upon written rcquest, the property must
be appraised by each parly`s own independent appt'aiser, ln the event of` a disagreement in the
appraisai` the differences are submitted to an umpire i`or determination Def'endant insurance
company was potentially deprived of`the opportunity to invoke the appraisal clause prior lo suil.
Ftlrther. the lawsuit potentially prevented Del`endant insurance company from attempting to
resolve the alleged problems reaching an impasse or invoking the appraisal clause, if necessary
Del"endant insurance company reserves the contractual right to invoke this clause and that the
property be appraised according to the terms ol`tlie applicable insurance policy if the parties reach
an impassc. Del`endant insurance company has not waived and is not waiving this provision and
may assert it in the future.
4.
l’ursuant to Rnle 193.? of the Texas Rules of Civil Procedurc, Dct`endant hereby gives
actual notice to Plainti{`i` that any and all documents and materials produced in response to written
discovery may be used as evidence in this casc_: and, that any such materials may be used as
evidence against the party producing the document at any pretrial proceeding andfor at the trial ol`
this matter without the necessity ol` authenticating the document andfor materials produced in

discovery.

RUDRIGUE?§. OSC`ARfWiC` & l'Slt'.` - l) Ur\ \"Ii['lll:lED~ I’SlL" - i"i\{ii: 1 UI-'-l

 

Case 7:17-cv-OOO78 Document1-2 Filed in TXSD on 03/14/17 Page 6 of 22

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Reviewed By: Patrlcia Moltna

Reg vests i`or Dise|osurc

At the time required by law or the Rules. these Det`endant requests the Plaintifi` to respond

to all ot` the matters in '[`RCP 194.3.

WHERI€I~`ORE__ PREMISES CONSIDERED, Dcf`cndant prays that upon final hearing

hereol`. that Plaintii`l` not recover against Def`endant and that Dcfcndant goes hence with its costs

without day and for such other and further rclict`, at law or in equity, to which Dct`cndant may

justly show itself`entitlcd to t‘cceivc.

Respectt`ul|y submitted,

Gault._ Nyc & Quintana, L.l'_..P.
P.O. Box 6666

Corpus Christi, Tc.vas 78466
(361) 654»?008

(36 |) 654-7001 °I`clccopicr
tnve”iiiunt]la\vveis.com

By: lllll " ?;;'1*-\-. :'
'I`homas F, Nyd
Statc Bar No. 15154025

i_{/ \. ._.__F_.

William Gal.tlt

State Bar No. 0?765050
Gault. Nye & Quinlana` L.L.P.
P.O. Box 5959

Bro\vnsvillc, Tcxas ?8523
(956) 544-71 10

(956) 544-0607 Telecopier
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A‘rroat~te\'s I=oR DEFENDANT PALoMAR
SPEC!ALTY leuRANCE CoMPANY

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Case 7:17-cv-OOO78 |_I)ocument 1-2 Filed in TXSD on 03/14/17 Page 7 of 22

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Reviewed By: Patricia Mo|ina

CERTIFICATE OF SERVICE

l. 'l`homas F. Nye_. hereby certify that on the t~" "" day ot` Febmaty. 201'?. a true and
correct copy ol`thc above and foregoing document was served upon the following counsel as
indicatcd:

A.-‘!ornevs for P!ain!i{{`

Christopher M. I-`crraro
Christopher l\-‘l. Fct'raro, P.C.
Sulya Mangi

V. Gonzalcz & Associatcs. P.C.
Email: chris'“r?tt`erraro-[a\v.com

31trva-'iilvgonzaleziaw_cnm
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," {-'\.h_~w,_ ?:_ j _‘_ L._.._..

'I`homas F. N'yc x

|{Ul_lil'.|(iicif~.?.. US{.'¢\R!"L\’!L` & I'Sll.` - l) U.-\ \’ER!!:|ED - P.':il(_` - PJ\GE 4 t)t= 4

 

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l g , GAULT, NYE & QUINTANA, L.L.el?."

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C‘oneos t'_‘t»tsisn. T‘auts 75411
P.O. Box 6666
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lt'~tt.~c R. L-‘t.\l:tr~.t Wnrrsk's E*.i.t.-ut_- lrsnorcrt`q(.'t~!{`,»ta\r_vciscorn

.Ianuary 23, 201?

'l`hcrcsa Sinith

Christopher i\-l. l-`erraro

C`hristopher |\»'l. Ferraro. P.C.

1011 W. toth St.

.-‘\ustin, 'l`c.\'as 78?03

Via ctnail: lheresa€?i“:t`crraro-iaw.coin

 

Re: C`ausc No. C-3900-16~D_; Oscai' Rorlrigue:-: v. li"c!!ington insurance Coinptrrn' and
Pc'ionictt' $pecioi!y .insrn'onc'e Compnn_t', fn the 206[1‘Iudieial `Distt‘icl Court. l'lidalg£\
County, 'l`cxas
C`laitn No. l’SI-65983

h'ls. Sntitl\:

l’tease allow this letter to serve as a Hulc ll Agrcement confirming that (iault, Nye & Quintana,
LLI’. on behalf ofits clicnt: i’aiomar Specialty Insurancc Company, will accept service ot`Plaintil`l"s
Original Pctition in the above-referenced case via cerli.licd mail. Dct`cndant will tile its Answer in
accordance with thc deadlines set forth in the 'l`cxas Rtllcs ol`Civil Procedurc.

li` this agreement meets with your approvai, please sign below in accordance with Rulc ll of the
Texas l{ules ol`Civi| Procedure, and return to mc. 'l`hank you l`or your cooperation in this inat:ter.

    

.lohn R. Larnont
,~tzrcrne_ltfor Defendmrf

 

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-‘Flit§n&»&ngh_{/Lj) fir/rare Date

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P.O. Box 4200 ¢ Eot.\muno. ')‘Esttl P.O. rios 5959 - naowre=vn.t.t-Z. ?85'.’.3

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Reviewed By: F'atricia Mo|ina

CAUSE NO. C-390[]-16-D

osCAR RODRIGUEZ § IN THE olSTRICT COURT
§
§

vs. § zoeTI-l ]UDICLAL DISTRICT
§

WI~:LLINGTON INSURANCE COMPANY § HIDALGO COUNTY, TEXAS

PALOMAR BPECLALTY INSURANCE §

COMPANY §

ORD ER E`»E'I`TING HEARING ON
DISMISSAL F§ !R WAN'I` OF PROSECUI ION

Please be advised that the above numbered and styled cause is Set for the _'2_5_'_‘1
gay of |anuag, 2017 at 8;{]0 a.m. for a Rule 1653 hearing [Order of Dismissal for Want
of Prosecuh'on) Personal Appearance at said hearing is required Failure to attend will
result in the case being dismissed for want of prosecution

Any default judgment Will be taken care at the time of the disn'ljssal heating

Thanl< you for your attention

12128}'20 1 6
SIGNED on

IUDGE ROSE G. REYNA

RGR,"bgl
Ce: Hon. Christopher M. Fert‘aro - Email: cl'tris@fertaro-]aw.com
Hon. 5urya Mangi- Email: surya@vgonzalezlaw.com

 

 

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Reviewed By: Alexis Bonilla

CAUSE NUMBERC-SQOO-w-D

OSCAR RODRIGU`EZ § IN 'I`HE DISTLRCT COURT
Plaintift`s, §
§
vs. § ______ JUDICIAL DISTRlCT
§
WEL]`_.I'NGTON INSURANCE §
COMPANY, AND PALOMAR §
SPECIALTY INSURANCE COM]’A.NY §
Def`endant § HI_DALGO CO UNTY, 'I`EXAS

 

PLAINTIFFS’ ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

 

TO THE HONORABLE J`UDGE OF SAID COURT:

NOW COM.ES, OSCAR RODRJGUEZ (hereinafter referred to as
“PLAMTLFF”), and files his first Original Petition against DEFENDANT,
WELLI`NGTON INSURANCE COMPANY AND PALOMAR SPECIALTY
INSURANCE COMPANY (Hereinafter “DEFEN`DANI`") for cause of action would
respectfully show the Coul't the following

- I. Discovery

Pursuant to Rule 4? of the Texas Rules of` Civil Proeedure, PLA[NTIFF seeks
damages of monetary relief of $100,000 or less. Speciiically, PLA]NTIFF seeks damages
o[`monetary relief ofno more than $75,000-00.

ll. Service of Process

Defendant, Wel]ington lnsurance Cornpany may be served with process by
serving citation and a copy of this Oi'iginal Petition by Certifled Mail Return Reeeipt
Requested on its agent for Service COR_PORATION SERVICE COWANY at 211 E. ?“‘

Street, Suite 620, ¢*Sttlstin1 'I`e'.\tas '?8?0].

 

 

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C_3ggg_15_n Reviewed B§c Alexls Bonit|a

Dei`endant, Pa!ornar Specia]ty Insurance Company may be served with process by
serving citation and a copy of this Origioal Petition by Cet'titied Mail Retut'o Receipt
l?.equested on its agent for CT Corporation Systern 199 Bryan St Ste 900, Dallas Te):as
?5201.

DE.FENDANT is in the business of insurance in the State of Texas. The

insurance business done by DEFENDANT in Tcxas includes, but is not limited to the

following:

I. The making and issuing of contracts of insurance with the PLAINT[FF;

2. The taking or receiving of application for insurancc, including the
PLAINT[FF’S application for insurance;

3. The receiving or collection of premiums, commissions, membership fees,
assessments dues or other consideration for any insurance or any part
thereof, including any such consideration or payments from the
PIMNTIFF;

4. The issuance or delivery of contracts of insurance to residents of this state or

apcrson authorized to do business in this state, including the PLA}NTIFF;

5. The adjusting and inspection of PLA[NTFF’S insurance cfairns;

6. Making insurance coverage decisions;
?`. Taking part in making insurance coverage decisions; and
8. Making representations to PLAlNT[FF as being an agent for an insurance

company with authority to make coverage decisions;

lll. lurisdiction and Venue

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Vcnue of this action is proper in HIDALGO County, Tcxas because: the policy at
issue was issued and delivered in HIDALGO County, 'i`e'xas; the property insured is
situated in HIDALGO County, 'I`exas; PLAINTLFF’S losses occurred in HIDALGO
County, Texas, and ali or part of the events made the basis ot` this lawsuit and giving rise
to PLAINTlFl`-`S’ claims and causes of action occurred in HIDALGO Count'y, Texas.

IV. Facts

DEFENDANT andjor its agents committed the actions alleged against
PLA]]\lTi_FF in this complaint PLAINTIFF owns the property located at: 323 W. Merida
St, Wcslaco, Tcxas ?8599 with Policy# PIC~0000446; Claim # PSI 65983.
DEFENDANT provided coverage to the PLAINTIFF for such building, personal
property, and other matter. During the term of said policy, PI_.AINTIFF sustained covered
losses in the form of a haiUwhtdstorm event on or about April 24, 2015 in HIDALGO
County, and water damages resulting there t`rom, including damage to the architectural
finishes of the property. PLAlNTlFF promptly reported losses to DEFENDANT pursuant
to the terms of the insurance policy. As a result, FLAINTIFF’S property sustained
damage, including the cost of destruction and restoration of the property necessary to
access and fix the damaged areas. These are covered damages under PLAINT].FF’S
insurance policy with DEFENDANT. PLAINTIFF has been damaged in an amount in
excess of the minimum jurisdictional limits of this Court, including injuries sustained as a
result of having conduct business during the pendency of DEFENDANT'S conduct.

V. Conditions Precedent
All notices and proofs ol" loss were timely and properly given to DEFENDANT in

such manner as to fully comply with the terms and conditions of the relevant insurance

 

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Reviewed By: Alexis Boni|la

C-3900‘-16-D
policies or other connects and applicable iaw. More than sixty days prior to the filing of
this suit, written demand for payment and notice of complaint pursuant to Texas
lnsurance Code, section 541 and Business and Contmerce Code section 17.505(a), was
sent to DEFENDANT. All of the conditions precedent to bring about this suit under the
insurance policy has occurredl Dcspite the fact that all conditions precedent to
PLAIN TIFF’S recovery has been performed, DEFENDANT has failed and refused to pay
PLAINTIFF a just amount in accordance with their contractual obligations, agreements,
and representations

V`l. Breach of Contract

PLAI'NTIFF purchased an insurance policy with DEFENDANT. PLA[NTIFF’S
property was damaged by thc hail/windstonn and water damagc, of which are covered
under the insurance policy. DEFENDANT has denied andfor delayed payment of
P[AINTIFF’S covered claims DEFENDANT has no reasonable basis for denying,
delaying, or failing to pay PLA[N'I`II"F’S claims for damages DEFENDANT knew or
should have known that there was no such reasonable basis to deny, delay, and fail to pay
such claims. `l`he conduct of DEFENDANT was irresponsible, and unconscionable
DEFENDANT took advantage of the PLA[NTIFF’S lack of sophistication in insurance
and construction matters to a grossly unfair degree. DEFENDAN'I` has, by its conduct,
breached its contract with the PLAINTIFF. 'I`hc conduct of DEFENDAN'I` has
proximately caused the injuries and damages to the PLAINTIFF.

VII. Second Cause of Action: DTPA Violations
PLAJNTIPF is a consumer entitled to relief under the Texas Deceptive Trade

Practices_Consumer Protectiorl Act (“DTPA”). By its conduct outlined above,

 

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DEFENDANT has engaged in the following violations of the DTPA which, together and

separately, have been a producing cause of PLAIN'I`lFF’S damages:

(a) DEFENDANT made false representations about PLAINTIFF’S rights, remedies
and obligations under ' the policies at issoe. These statements were a
misrepresentation of the insurance policies and their benefits in violation of
§§] 7.46(1))(5), (')'), (12) and (14), 'I`exas Business & Conunerce Code;

(b) DEFENDANT'S actions constitute an unconscionable course of conduct entitling
PLAINTLFF to relief under §l?.$f)(a)(l), (2), (3), and (4) ol" the Texas Business &
Connnerce Code;

(c) DEE`BNDANT failed to disclose information to PLAD‘~IT]_FF concerning the
nature and extent of their insurance policy which was known by DEFENDANT at
the time for the purpose of inducing PLAI'NTIFF into transactions which he
would not have otherwise entered in violation of section l?.46(b)(9) and (23),
'I`exas Business and Comrnerce Code;

(d) As described above, DEFENDANT violated Chapter 541 , Texas lnsurance Code,
entitling PLAINTIFF to relief under section l?.SD(a)(¢l), Texas Business and

Commerce Code.

DEFENDANT took advantage of PLA.[N'IIFF’S lack of knowledge in
construction and insurance claims processcs, misrepresented losses covered under the
insurance policy, and failed to disclose pertinent information regarding damages to the
PI..AINTIFF’S property. DEFENDANT conduct as described herein was a producing
cause of damages to PLAI'NTI_FF l"or which PLAINTIFFS sue. The conduct of the

DEFENDAN'I` was more than just a mistake, and was done “knov\dngly” and!or

 

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“intentionally” as that term is derived by statute. Because of that1 DEFENANT may be
subject to liability for additional damages under the ’l`exas Deceptive Trade Practices Act.
PLA[NTIFF seeks an award of additional damages under the DTPA in an amount not to
exceed three times the amount of economic damagesl

VIII. Unfair insurance Practices

DEFENDAN'I` failed to inform PLAINTIFF of material facts such as the true
scope of damage and cost to repair. DEFENDANT failed to properly process claims and
have misrepresented material facts to the PLATNTIFF. DEFENDANT has failed to
address all damage to the property and its contents causing further damage to the
P]`_.A.INTIFF. Further, DEFENDANT has intentionally failed to fully investigate the loss',
failed to properly convey all information to PLAINTIFF; and has intentionally ignored
damages to the dwelling PLAI'NTIFF’S property suffered from covered losses and
damages of which DEFENDANT is fully awarc. DEFENDANT has concealed damage
known by it to exist DEFENDANT has known about covered windston'n and water
damages but has failed to perform proper testing and concealed facts from PLA_INTIFF
about the damages ignoring P.LAIN'I`lFF"S pleas for help. DEFENDANT has failed to
warn PLAINTIFF of consequential damage to their property.

By its conduct outlined above, DEFENDANT committed unfair practices in the
business of insurance prohibited by Chapter 541, Texas insurance Code, and the statutes,
rules and regulations incorporated therein. DEFENDANT committed the following acts
in violation of Texas lnsurancc Code and Texas Administrativc Codc:

(l) DEFENDANT failed to, with good faith, effectuate a prompt, fair, and equitable

settlement of the PLAlNTIFF’S claims once liability became reasonable clear

 

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Reviewed By: Alexis Boni||a

C-3900-16-D
(Tex. lns. Code A.n.n. 541.060(a)(2)(A]; 'l`ex. lns. Code. Ann. 542.003(b)(4); 23
TAC section 21-203(4));

(2) DEFENDANT failed to provide promptly to PLAR‘~TTIFF a reasonable
explanation of the basis in the poliey, in relation to the facts or applicable law, for
denial of the claim or for the offer of a compromise settlement of the claim (Tex.
Ins. Code Ann. 541 .060(21)(3); 28 TAC section 21.203(9));

(3) DEFENDAN']` refused to pay a claim without conducting a reasonable
investigation with respect to that claim (`Tcx. lns. Code Ann. 541.060(3)(7); TAC
section 21.203(15));

(4) DEFENDANT breached its duty of good faith and fair dealing at common law;

(5) DEFENDANT failed to adopt and implement reasonable standards for the prompt
investigation of claims arising under the insurer’s policies (Tex. Ins. Code Ann.
542. 003(b)(3); 28 TAC section 21.203(3));

(6) DEFENDANT compelled PLAINTIFF to institute a suit to recover an amount due
under a policy by offering substantially less than the amount ultimately recovered
in a suit brought by the policyholder (l`ex. Ins. Ccde Ann` 542.003(¢3)(5); 28 TAC
section 21.203(6);

{?) DEFENDANT violated the Prompt Payment of Claims Statute (28 TAC section
21.203(18));

(S) DEFENDANT committed the following unfair methods of competition or
deceptive acts or practices in the business of insurance in violation of Texas

insurance Code and the Texas Administrative Code by:

 

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(a) DEFENDANT made, issued or circulated or caused to be made, issued or
circulated an estimate, illustration, circular or statement misrepresenting
With respect to the policy issued or to be issued:

(i) the terms of the policy; and{or
(ii) the benefits or advantages promised by the policy.

(b) DEFENDANT made an untrue statement of material fact (Tex. lns. Code
Ann. 541.060(a)(1); 28 TAC section 21.203(1));

(c] DEFENDAN'I` failed to state a material fact necessary to make other
statements made not misleading considering the circumstances under
which statements were made; and

(d) DEFE,NDANT made statements in a manner that would mislead a
reasonably prudent person to a false conclusion of material fact.

(e) Reli.lsing, a settlement offer under applicable first-party coverage on the
basis that other coverage may be available or that third parties are
responsible for the damages suffered, except as may be specifically
provided in the policy (Tcx. lns. Code Ann 541.060(&)(5); 28 'I`AC section
21.203(11);

DEFENDANT’S conduct as described herein was a producing cause of damages to
PLAINTIFF for which suit was filed.
D(. Breach of the Duty of Good Faith and Fair Dealing
From and alter the time the P]'_.AD\IT[FF’S claims were presented to
DEFENDANT, liability to pay the claims in accordance with the terms of insurance

policies referenced above has been reasonably clear. Despite there being no basis

 

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whatsoever on which a reasonable insurance company would have relied to deny and!or
delay payment for PLAINTIFF’S claims, DEFENDANT refused to accept the claims in
totality and pay the PLAINTIFF as the policy required At that time, DEFENDANT .
knew or should have known by the exercise of reasonable diligence that their liability
was reasonably clear. DEFENDANT failed to conduct a reasonable and proper inspection
of the claims and refused to rely on the true facts, resorting instead to producing faulty,
incomplete and biased reasons to avoid paying a valid claim. This constitutes failing to
handle or process the PT_,AINTFF’S claims in good faith, an affirmative duty placed on
the Defendant, as expressly stated by the 'I`exas Snprcmc Court in Vcn'] vq We£lt'agton
insurance Company, ?54 S.W.2d 129 at 135 (Tex. 1988). 'l`hrough the actions described
above, DEFENDANT breached its duty to deal fairly and in good faith with the
PLA[NTIFF. DEFENDANT`S breach was a proximate cause of the losses, expenses and
damages suitered by the PLAlN'l`lFF for which they sue.

X. Texas lnsurance Code 542, Subchapter B Delay in Payrnent
PLAINTIFF gave prompt notice of their claims to DEFENDANT. DEFENDANT
has engaged in unfair settlement claims practices as discussed above and denied and/or
has delayed payment on PLAINTIFF’S claim. DEFENDANT`S reliance on reports and
estimates from its adjusters and investigating adjusters has been “merely pretextual” and
unreasonable DEFENDANT’S investigation and use of adjusters’ reports was an
“outcorne oriented investigation." DEFEN[)ANT failed to comply with the requirements

of Chapter 542 listed herein:

 

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(a) Failing to pay PLAINTIFF‘S claim within 60 days of receiving all of the
items, statements, and forms required by the insurer to secure final proof
of loss, of the acceptance or rejection of a claim; and

(b) Failing to request a.Il of the items, statements and forms the Defendant
reasonably believed at the time would be required from PLAINTIFF’S to

pay the claim within 15 days alter receiving notice of the claim.

Pursuant to Texas I.nsurance Code Chapt'er 542, Subchapter B, PLAFNTIFFS are
entitled to recover from DEFENDANT the statutory penalty of IB% per annum on all
amounts due on PLAINT.[FF = S claiins, together with attorney’s fees, for which they sue.

X.l.

PLAINTIFF alleges that as to any terms, conditions, notices, or requests under the
insurance contract, PLAB\ITIFF has substantially complied andfor is excused ln the
alternative, PLAINTII~`F makes the allegation of waiver andl'or estoppel as to every
defense or exclusion plead by DEFENDANT as to any c)tclusion, condition, or defense
pled by DEFENDANT, PLAIN 'I`l.FF would show that:

l. The clear and unambiguous language of the policy provides coverage for
dwelling damage caused by windstorm and water damage including the
cost of access to fix the damaged areas. Any other construction of the
language of the policy is void as against public policy;

2. Any other constmcti on and its use by DEFENDANT violates section 541

and 542 of the Texas insurance Code and are void as against public

policy;

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3. Any other construction violates Art. 17.50 of the '[`exas Business and
Conunerce Code, is unconscionable was procured by fraudulent
inducement, and is void as against public policy;

4. Auy other construction is otherwise void as against public policy, illegal,
and volatiles stale law and administrative rule and rcgulation;

5. The adoption of any other construction constitutes wrongful or bad faith
cancellation andfor refusal to renew a portion of PLA]NTIFP’S
predecessor policy with DEFENDANT. ln this rcgard, PLA[NTIFF
would show that his insurance policy was renewed uninterrupted for many
years; and

6. Tbe adoption of any other construction constitutes conduct in violation of
the laws of this state, including section 541 and 542 of Texas [nsurance

Codc is void as against public policy.

Lt` this Court finds any ambiguity in the policy, the rules of construction of such
policies mandate the construction and interpretation urged by PLAINTIFF. In the
alternativc, DEFENDANT is judicially, adniinistrati\»‘ely, or equitably estopped front
denying PLAINTIFF'S construction of the policy coverage at issue. To the extent that the
wording of such policy does not reflect the true intent of all parties thereto, PLAIN'l`lFF
pleads the doctrine of mutual mistake requiring reformation

XII.

WI-IEREFORE, PREMlSES CONSID.ER_ED, PLAINTIFFS respectfully request

this Honorable Court for the following relief: 'l"hat upon final hearing and trial hereof,

this Honorable Court grant to the PLA.INTLFF such relief as to which they may show

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himself justly entitled, either at law or in equity; either general or speciul, including
declaratory judgment, judgment against the Dei`cudant for actual attorney’s i`ees, cost of
suit, mental anguish, D".[`PA violations, Texas insurance code violations, statutory
penalties, and prejudgment and post judgment interest, including judgment for additional
damages and punitive damage under the facts set forth in this or any amended pleading in
exceeding the minimal jurisdicted limits of the court.
XlII. Jury Demand

PLA[NTIFF requests this Court empanel a jury to sit in the trial of this matter.

'l`he requisite jury fec wi 11 be paid as required by law.
XIV. Requests for Disclosure

Undcr 'l`cxas Ruic of Civil Pt'Ocedure 194, PLA]NTIFF request that
DEFENDANT disclose, within 50 days of the service of this request, the information or
material described in 'l`exas Rule of Civil Procedure 194.

Respecti`ully submittcd_.
Christopher M. Ferraro, P.C.

fs)' Christopher M. Ferraro
Christopher M. Pen~aro

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